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                   Exhibit “A”
                   Plaintiff's Complaint
                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 2 of 10
                                                                                                           Electronically Filed
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                        1          COMJD
                                   MICHAEL C. KANE.ESQ.
                        2          Nevada Bar No. 10096
                                   BRADLEY J. MYERS,ESQ.
                        3
                                   Nevada Bar No. 8857
                        4          JANET L. MERRILL,ESQ.                                             CASE NO: A-21-827746-
                                   Nevada Bar No. 10736                                                       Department 2
                        5          THE702FIRM INJURY ATTORNEYS
                                   400 S. 7th Street, Suite 400
                        6          Las Vegas, Nevada 89101
                                   Telephone: (702)776-3333
                        7
                                   Facsimile:     (702)505-9787
                        8          E-Mail:         service@the702firm.com
                                                   ianet@the702firm.com
                        9          Attorneysfor Plaintiff

                      10                                                DISTRICT COURT
                                                                     CLARK COUNTY,NEVADA
                      11

                      12           CYNTHIA MOREAU,                                Case No.:
                                                                                  Dept. No.:
                      13                 Plaintiff,
                                   VS.
                      14                                                                         COMPLAINT
                                   SAM'S WEST INC, dba SAM'S CLUB                         AND DEMAND FOR JURY TRIAL
                      15
                                   Store #8177; ARILEX TROPICANA
                      16           ASSOCIATES, LLC; DOES I through X,
                                   inclusive; and ROE CORPORATIONS I
                      17           through X,inclusive„
                      18                  Defendants.
                      19

                      20
                                   •      Plaintiff CYNTHIA MOREAU, by and through her attorneys of record, MICHAEL C.
                      21
                                   KANE,ESQ.,BRADLEY J. MYERS,ESQ., and JANET L. MERRILL,ESQ., of THE702FIRM
                      22

                      23           INJURY ATTORNEYS, and for her Complaint against the Defendants, and each of them, states,

                      24           asserts and alleges as follows:

                      25                                             JURISDICTIONAL STATEMENT
                      26
                                          The Eighth Judicial District Court has jurisdiction of this civil tort action in accordance
                      27
                                   with NRCP8 (a)(4), NRS 13.040 and NRS 41.130 as the incident and location occurrence giving
                      28
       'FHE702FIRM
                                   rise to this matter occurred in Clark County, Nevada and the amount in controversy exceeds
      ATTORNEYS AT LAW
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                                                                 Case Number: A-21-827746-C
                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 3 of 10



                        1          $15,000.

                        2                                             GENERAL ALLEGATIONS
                        3
                                          1.         Plaintiff CYNTHIA MOREAU ("MOREAU")is and was, at all times relevant to
                        4
                                   these proceedings, a resident of the State ofNevada.
                        5
                                          2.         Upon information and belief, Defendant SAM'S WEST INC("SAM'S CLUB"),is
                        6
                                   and was a Foreign Corporation, duly authorized to and conducting business as SAM'S CLUB
                        7

                        8          Store #8177, located at 5101 South Pecos Road, Las Vegas, Clark County, Nevada, 89120.

                        9                 3.         Upon information and belief, Defendant ARILEX TROPICANA ASSOCIATES,

                      10           LLC ("ARILEX"), is and was a Domestic Limited Liability Company, duly authorized to and
                      11
                                   conducting business at 5101 S. Pecos Road, Las Vegas, Clark County, Nevada.
                      12
                                          4.         Upon information and belief, DOES Defendants are residents of the State of
                      13
                                   Nevada and were working in the course and scope of their employment at all times herein.
                      14
                                          5.         That the true names and capacities of Defendants named herein as DOES I through
                      15

                      16           X, and ROE CORPORATIONS I through X, whether individual, corporate, associate, or

                      17           otherwise, are presently unknown to Plaintiff, who, therefore, sues said Defendants so designated
                      18           herein by fictitious names.
                      19
                                          6.      Plaintiff is informed and believes and therefore alleges that Defendant DOES I
                      20
                                   through X and ROE CORPORATIONS I through X are owners, agents, employees, general
                      21
                                   contractors, sub-contractors, and/or assigns ofDefendants, who; while within the course and scope
                      22

                      23           of their assigned duty or task with said Defendants, were wholly or partially responsible for the

                      24           negligence alleged herein and were, at all times mentioned in this Complaint, persons and/or

                      25           entities who managed, controlled, maintained, inspected, leased, and/or owned the Property at
                      26
                                   issue in this Complaint, and are responsible in some manner for the events and happenings referred
                      27
                                   to in this action on or about FEBRUARY 21, 2020; and proximately caused damage to Plaintiff as
                      28
                                   alleged herein.
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                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 4 of 10



                        1                   7.      The legal responsibility of said Defendant DOES I through X and ROE

                        2           CORPORATIONS I through X arises out of, but is not limited to, their status as owners and/or
                        3
                                    their maintenance and/or entrustment and/or possession of the premises which Defendants, and
                        4
                                    each of them, were operating at the time of the subject injury; and/or their agency, master/servant
                        5
                                    or joint venture relationship with remaining said Defendants. Plaintiff will ask leave of this
                        6
                                    Honorable Court to amend this Complaint to insert the true names and capacities of said
                        7

                        8           Defendants and, when the same have been ascertained, to join such Defendants in this action

                        9           together with the proper charging allegations pursuant to Nurenberger Hercules- Werke GMBH v.

                      10            Virostek, 107 Nev. 873, 822 P.2d 1100(1991).
                      11
                                           8.      Plaintiff is informed and believes and thereon alleges that at all relevant times
                      12
                                    mentioned herein, Defendants, and each of them, including DOE and ROE Defendants, were
                      13
                                    principals/agents, masters/servants, employers/employees, and/or joint venture partners and/or
                      14

                      15            employees of the remaining Defendants and were acting within the course and scope of such

                      16            agency, employment, partnership, and/or joint venture and with the knowledge and consent of the

                      17            remaining Defendants. As such, each partner, employer, master, and/or principal is vicariously
                      18            liable for the said negligent actions of its employee, servant, and/or agent pursuant to NRS 41.130
                      19
                                    and its imputation of liability as a matter of law.
                      20
                                           9.      Upon further information and belief, Defendants, and each of them, operated,
                      21
                                    occupied, controlled, leased managed, performed work, maintained, promoted, advertised,
                      22

                      23            provided briefings about, employed or otherwise engaged in actions benefiting the Property,

                      24            and/or were responsible for the condition, maintenance and upkeep of the Property and its

                      25            common-area floors/walkways located at 5101 South Pecos Road, Las Vegas, Nevada, 89120,
                      26
                                    more commonly known as SAM'S CLUB Store #8177,("SAM'S CLUB") where the incident
                      27
                                    occurred.
                      28
                                            10.    On or about FEBRUARY 21, 2020, Plaintiff MOREAU was lawfully present at
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                                                                             3
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                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 5 of 10



                        1          Defendant SAM'S CLUB Store #8177, as an invitee of SAM'S CLUB and was walking in the

                       2           produce section when she slipped and fell on grapes on the floor ofthe store in the produce section
                       3
                               ("Dangerous Condition"), thereby causing Plaintiff to sustain serious injuries.
                       4
                                           1 1.   Upon information and belief, DOE Defendants were employees of Defendant
                       5
                                   SAM'S CLUB,and/or Defendant ARILEX,and/or ROE CORPORATIONS,and were working in
                       6
                                   the course and scope of their employment for said Defendants, at the time of the aforementioned
                       7

                       8           accident, and created, observed, knew, or were informed ofthe Dangerous Condition and failed to

                       9           remedy the Dangerous Condition or otherwise warn of the same, prior to Plaintiff falling.

                      10                                       III. FIRST CLAIM FOR RELIEF
                                             (Negligence — Premises Liability/Negligence Per Se/Respondeat Superior)
                      11

                      12                   12.    Plaintiff repeats and realleges the above allegations as though fully set forth herein

                      13           at length.

                      14                   13.    On or about FEBRUARY 21, 2020, upon information and belief, Defendants, and
                      15
                                   each of them, as well as certain DOE DEFENDANTS and/or ROE CORPORATIONS owed a
                      16
                                   duty of due care to its patrons, including Plaintiff, to maintain a reasonably safe premises.
                      17
                                           14.    Defendants, and each of them breached that duty when they either negligently
                      18

                      19           created the Dangerous Condition, and/or negligently failed to provide adequate repair or

                     20            maintenance and/or warnings of the Dangerous Condition.

                     21                    15.    Further, Defendants, and each of them, failed to monitor, supervise and maintain
                      22           the premises/employees; and further failed to warn Plaintiff of said Dangerous Condition which
                      23
                                   resulted in her injuries, all in breach of Defendants' duty of due care.
                      24
                                           16.    Defendants, and each of them, upon information and belief, are and were the
                      25
                                   owners and/or managers of, and responsible for, the maintenance, safety, repair and improvement
                      26

                      27           of the Property, and specifically the areas where patrons walk.

                      28                   17.    The presence of foreign substance on the floor is a foreign condition and is
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                             Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 6 of 10



                        1          inconsistent with a property owner/possesor's non-delegable standard of care to maintain the

                        2.         premises in a reasonably safe and suitable condition.
                        3
                                           18.     Defendants' said breach oftheir duty ofcare directly and proximately caused injury
                        4
                                   to Plaintiff.
                        5
                                           19.     Defendants, and each of them, knew, or should have known, that the failure to
                        6
                                   adequately maintain their premises and avoid the presence ofthe Dangerous Condition could lead
                        7

                        8          to injury.

                        9                  20.     Upon information and belief, prior to the severe injuries suffered by Plaintiff,

                      10           Defendants, and each of them, had knowledge of the Dangerous Condition, and failed to remedy
                      11
                                   said condition resulting in Plaintiff's personal injuries.
                      12
                                           21.     Defendants, and each of them, knew, or reasonably should have known, that a
                      13
                                   Dangerous Condition existed on or about the area of the Property where Plaintiff was walking,
                      14

                      15           which was otherwise unfit for patrons of Defendants, including Plaintiff.

                      16                   22.     Defendants, and each of them, failed to caution, warn, place signs, or otherwise

                      17           make safe, or remedy, the Dangerous Condition.
                      18                   23.     Accordingly, Defendants negligently, carelessly, and recklessly maintained and
                      19
                                   allowed the Dangerous Condition to exist.
                      20
                                           24.     At all times mentioned herein, there were in force statutes, codes, ordinances, and
                      21
                                   regulations prohibiting the conduct exhibited by Defendants, and each of them.
                      22

                      23                  25.      Plaintiff is a member of the class of persons for whose protection said statutes,

                      24           codes, ordinances, and regulations were enacted or promulgated; and Plaintiff's injuries are the

                      25           type of injuries that said statutes, codes, ordinances, and regulations were intended to prevent and
                      26
                                   protect against.
                      27
                                          26.      Upon information and belief, Defendants, and each of them, including DOE and
                      28
                                   ROE Defendants, were principals/agents, masters/servants, employers/employees, and/or joint
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                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 7 of 10




                        1          venture partners and/or employees ofthe remaining Defendants and were acting within the course

                        2          and scope of such agency, employment, partnership, and/or joint venture and with the knowledge
                       3
                                   and consent of the remaining Defendants. As such, each partner, employer, master, and/or
                       4
                                   principal is vicariously liable for the negligent actions of its DOE(s) employee, servant, and/or
                       5
                                   agent pursuant to NRS 41.130 and its imputation of liability as a matter of law, which states:
                       6
                                         [e]xcept as otherwise provided in NRS 41.745, whenever any person shall suffer
                        7
                                          personal injury by wrongful act, neglect or default of another, the person causing
                       8                 the injury is liable to the person injured for damages; and where the person causing
                                         the injury is employed by another person or corporation responsible for his
                       9                 conduct, that person or corporation so responsible is liable to the person injured for
                                         damages.
                      10
                                          27.     Pursuant to Respondeat Superior, Defendants, and each of them, are vicariously
                      11

                      12           liable for the damages caused by their employee's actions and negligence.

                      13                  28.     Prior to the injuries complained of herein, Plaintiff was able-bodied, readily and

                      14           physically capable of engaging in all other activities for which she was otherwise suited.
                      15
                                          29.     As a direct and proximate result of the aforementioned, Plaintiff sustained injuries
                      16
                                   to her neck, back, limbs, body organs, and systems, all or some of which may be permanent and
                      17
                                   disabling in nature, all to her general damage in a sum in excess of $15,000.00.
                      18

                      19                  30.     As a direct and proximate result of the aforementioned, Plaintiff received medical

                      20           and other treatment for her injuries, all to her special damage in a sum in excess of $15,000.00.

                      21           Said services, care, and treatment are continuing and shall continue in the future, at a presently
                      22           unascertainable amount.
                      23
                                          31.     Due to her injuries as set forth herein, Plaintiff has sustained pain, suffering, loss of
                      24
                                   enjoyment of life, past, present and future, in an amount in excess of$15,000.00.
                      25
                                          32.     Due to her injuries as set forth herein, Plaintiff has sustained past wage loss and will
                      26

                      27           continue to suffer wage loss in the future, in an amount to be determined at the time of trial.

                      28                  33.     As a direct and proximate result of Defendants' negligence, Plaintiff has been
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                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 8 of 10



                        1          compelled to retain the services of an attorney to represent her in this action and is, therefore,

                        2          entitled to reasonable attorney's fees and costs incurred herein.
                        3
                                                                IV. SECOND CAUSE OF ACTION
                        4                              (Negligent Hiring, Training, Retention, and Supervision)

                        5                 34.     Plaintiff repeats and realleges the above allegations as though fully set forth herein

                        6          at length.
                        7
                                          35.     At all times mentioned herein, Defendants, and each of them, including DOES
                        8
                                   and/or ROE CORPORATIONS, had a duty to hire competent persons, properly train them for
                        9
                                   tasks they would perform, and supervise them in performance of those tasks.
                      10
                                          36.     Defendants, and each of them, breached their duty to properly train, supervise;
                      11

                      12           retain and/or supervise its employees in that said employees unreasonably created said Dangerous

                      13           Condition; and further failed to warn of the same or remedy the condition, exposing others to an

                      14           unsafe condition.
                      15
                                          37.     Prior to the injuries complained of herein, Plaintiff was able-bodied, readily and
                      16
                                   physically capable ofengaging in all other activities for which he was otherwise suited.
                      17
                                          38.     As a direct and proximate result of aforementioned Defendants' negligence in
                      18

                      19           hiring, training, supervising, and/or controlling employee(s), including Defendants' DOE

                      20           Employees, in failing to warn, remedy and/or otherwise avoid the Dangerous Condition, Plaintiff

                      21           sustained injuries to her neck, back, limbs, body organs, and systems, all or some of which may be
                      22           permanent and disabling in nature, all to her general damage in a sum in excess of $15,000.00.
                      23
                                          39.     As a direct and proximate result of the aforementioned, Plaintiff received medical
                      24
                                   and other treatment for her injuries, all to her special damage in a sum in excess of $15,000.00.
                      25
                                   Said services, care, and treatment are continuing and shall continue in the future, at a presently
                      26

                      27           unascertainable amount.

                      28                  40.     Due to her injuries as set forth herein, Plaintiff has sustained pain, suffering, loss of
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  LAS VEGAS,NEVADA 89101
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                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 9 of 10



                        1          enjoyment of life, past, present and future, in an amount in excess of $15,000.00.

                        2                 41.     Due to her injuries as set forth herein, Plaintiff has sustained past wage loss and will
                        3
                                   continue to suffer wage loss in the future, in an amount to be determined at the time of trial.
                        4
                                          42.     As a direct and proximate result of Defendants' negligence, Plaintiff has been
                        5
                                   compelled to retain the services of an attorney to represent her in this action and is, therefore,
                       6
                                   entitled to reasonable attorney's fees and costs incurred herein.
                        7

                        8                                              PRAYERS FOR RELIEF

                       9                  WHEREFORE, Plaintiff expressly reserves the right to amend this Complaint prior to or

                      10           at the time of trial of this action to insert those items of damage not yet fully attainable, and prays
                      11
                                   for judgment on all claims for relief against the Defendants, and each of them, as follows:
                      12
                                           1.     General Damages for Plaintiff's pain, suffering, disfigurement, emotional distress,
                      13                          shock, loss of enjoyment of life, and agony in an amount in excess of $15,000.00.

                      14                  2.      Special Damages for Plaintiff's medical expenses and lost wages, past, present and
                      15                          future, in an amount excess of $15,000.00.

                      16                  3.      Compensatory and/or Exemplary Damages in an amount in excess of $15,000.00.

                      17                  4.      Costs of suit incurred including reasonable attorneys' fees.
                      18                  5.      For such other relief as the Court deems just and proper.
                      19
                                          DATED: January 12, 2021.                        THE702FIRM INJURY ATTORNEYS
                      20
                                                                                          /6124uver4 rte,14.4ii
                      21                                                                  MICHAEL C. KANE,ESQ.
                                                                                          Nevada Bar No. 10096
                      22                                                                  BRADLEY J. MYERS,ESQ.
                      23                                                                  Nevada Bar No. 8857
                                                                                          JANET L. MERRILL,ESQ.
                      24                                                                  Nevada Bar No. 10736
                                                                                          400 S. 71h Street, Suite 400
                      25                                                                  Las Vegas, Nevada 89101 -
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                      27                                                                  E-Mail:         serviceRthe702firm.com
                                                                                                          janet@the702firm.com
                      28                                                                  Attorneysfor Plaintiff
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                            Case 2:21-cv-00435-JAD-VCF Document 1-2 Filed 03/16/21 Page 10 of 10




                        1                                              DEMAND FOR JURY TRIAL

                       2                  Plaintiff, by and through her attorneys of record, THE702FIRM INJURY ATTORNEYS,
                       3
                                   hereby Demands a jury trial of all of the issues in the above matter.
                       4
                                          DATED: January 12, 2021.                      THE702FIRM INJURY ATTORNEYS
                       5
                                                                                        /s/
                       6                                                                MICHAEL C. KANE,ESQ.
                                                                                        Nevada Bar No. 10096
                       7
                                                                                        BRADLEY J. MYERS,ESQ.
                       8                                                                Nevada Bar No. 8857
                                                                                        JANET L. MERRILL,ESQ.
                       9                                                                Nevada Bar No. 10736
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                                                                                                        janet@the702firm.com
                      13                                                                Attorneysfor Plaintiff

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